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(\) Otterbourg““ NewYork,NY10169 0fCounsel
Otterbourg.com e\\'einick@otterbourg.com
212 661 910() 212 905 3672

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October 31, 2018

 

U.S. COUF\`TS
Hon. Stephen W. Kenyon, Clerk of Court
United States District Court, District of Idaho NOV 0 5 2013
Boise Oftice _ Rcvd F»'i\@d lime
550 W. Fort Street, Sulte 400 STEPHEN W. _KENYON
Boise ID 83724 CLEHK, DISTRIGI`OF lDAHO

Re: SEC v. Platinum Management (NY) LLC, et al., No. l6-cv-6848 (E.D.N.Y.) -
Request for Miscellaneous Filing

Dear Clerk Kenyon:

 

This firm is counsel to Melanie L. Cyganowski, as the Receiver (the “Receiver”) for
Platinum Credit Management, L.P., Platinum Partners Credit Opportunities Master Fund L.P.,
Platinum Partners Credit Opportunities Fund (TE) LLC, Platinum Partners Credit Opportunities §
Fund LLC, Platinum Partners Credit Opportunities Fund (BL) LLC, Platinum Liquid
Opportunity Managernent (NY) LLC, Platinum Partners Liquid Opportunity Fund (USA) L.P.,
Platinum Partners Liquid Opportunity Master Fund L.P., Platinurn Partners Credit Opportunities
Fund International Ltd and Platinum Partners Credit Opportunities Fund International (A) Ltd.

The Receiver was appointed by an order dated October 16, 2017, issued by the U.S.
District Court of the Eastern District of New York in the matter captioned SEC v. Platz'num
Management (NY) LLC, et al., No. 16-cv-6848 (E.D.N.Y.) (the “Receivership Case”). ln
accordance with 28 U.S.C. § 754, enclosed please find a copy of the SEC complaint and the
Second Amended Order Appointing Receiver, Dkt. Nos. 1 and 297 respectively in the
Receivership Case, which we respectfully request that you file as miscellaneous case filings in
the District of Idaho. Should you have any questions regarding this request, please contact me.

Thank you for your anticipated cooperation
Respectfull y

Erik B. Weinick
NY Bar No. 4052247
Encl.

cc: Melanie L. Cyganowski, Esq., as Receiver, without enclosures

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